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Attorney for Plaintiffs

IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

This Document Relates to:

RANDOLPH MoRToN and EDNA s. _
MoRToN, No. 2.18-¢\/-05956-R.E

DECLARATION OF WILLIAM A.

Piaintiffs, LOWELL, II

VS.

3M COMPANY A/IQA l\/HNNESOTA
l\/IINING AND l\/IANUFACTURING
COMPANY, et al.,

Defendants.

 

 

The undersigned declares under penalty of perjury under the laws of the
United States as folloWS:

l. l am over the age of 18, not a party to this action and competent to
make the following statements based upon personal knowledge

2. l graduated from Maine Maritime Academy in 1956 With a degree in

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DECLARATION OF WILLIAM A. LOWELL, ll

 

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Marine Engineering and received an Ensign’s Cornmission in the U.S. Naval
Reserve and an unlimited Third Engineer’s License for the Merchant l\/larine
allowing me to sail on any Steam-driven or diesel-powered ship of any horsepower.
l obtained an unlimited Chief Engineer’s License in 1964 for steam-driven vessels
and in 1973 l obtained an additional unlimited Chief Engineer’s License for diesel-
powered ships. l held both licenses until 2011.

3. l served for 31 years in the U.S. Naval Reserves as a naval engineer,
and retired as a Captain. During that time, l served at sea and in port on dozens of
different naval ships, including aircraft carriers, battleships, destroyers, and
auxiliary craft. During my service, l was assigned primarily to the machinery
spaces.

4. l worked at Bath lron Works Shipyard for 33 years and retired as
General Manager of Bath lron Work’s Ship Repair Yard in Portland, l\/Iaine, in
1995. Bath Iron Works is a large shipbuilding company at which hundreds of
Coast Guard, Navy, and commercial ships have been constructed, repaired and
modernized. ln addition to performing all of the dockside testing on these ships, as
well as serving as Chief Operating Engineer during sea trials, l often accompanied
the ships during the first leg of their initial voyage. Furthermore, a number of the
merchant ships built Bath Iron Works eventually were sold to the United States
Government. l performed a number of two (2) week active duty tours on those
ships, during which time I trained the government’s marine engineers in the art of
operating those vessels l started at Bath lron Works as a First Line Supervisor as
an operating and test engineer in 1962. l\/ly interaction with Navy civilian
inspectors during ship construction and overhaul began the day l started at the
shipyard In this role, l spent a minimum of seven and a half hours a day aboard
Navy and commercial ships to test systems, deal with contractors if their
equipment didn’t meet our expectations, and dealing with the U.S. Navy which

was a customer of the shipyard ln 1964, l became Assistant Chief Gperating

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DECLARATION OF WlLLlAM A. LOWELL, ll

 

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Engineer until l Was promoted to Chief Operating Engineer in 1968. As Chief
Operating Engineer, l Was responsible for testing and activating for new
construction, repair, and overhaul of both commercial and Navy ships. This
involved testingnofequipment in the propulsion plants and machinery spaces,
preparing the ships for sea trials, and taking part in the sea trials as chief engineer.
ln this role, l was responsible for work on Navy guided missile destroyers,
destroyer escorts, frigates, container ships, roll-on/roll-off ships, tankers and
dredges.

5. From 1962 to 1989, l regularly stood next to Navy inspectors while
they inspected equipment and systems on Navy ships that were either constructed
or repaired by Bath lron Works. From 1962 to 1968, l worked with Navy
inspectors on a daily basis. There were approximately 20 to 50 inspectors at the
shipyard depending on the workload at the time. lt was my job to interpret the
contract for the construction or overhaul of a ship with the Navy to ensure that the
ship as delivered fulfilled the contract and without going beyond what the contract
required The contracts specified the tests and inspections that were to be
performed by Navy inspectors before a ship was delivered The last six months
before delivering a ship to the Navy meant testing almost every piece of machinery
and system on the ship, for example, pressure tests on piping systems, performance
of most propulsion and auxiliary equipment including pumps, valves, turbines,
turbine generators and boilers; lighting system throughout the ship, measuring the '
capacity of the fans throughout the ship, and noise testing to make sure excess
noise isn’t in found in areas of the ship that are supposed to be quiet. My role was
to supervise the activation and operation of the entire propulsion system and
auxiliary machinery. The Navy inspectors did not perform the tests themselves,
those tests Were performed by Bath lron Works employees under the supervision
of Bath lron Works. For tests overseen by me, l supervised the crew that
performed the tests. Navy inspectors neither performed nor supervised work on

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DECLARATION OF Wll_,LlAM A. LOWELL, ll

 

 

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Navy ships at Bath lron Works As the representative of the private shipyard my
job was to ascertain that the inspectors were satisfied with the ship’s constructions
and performance while also making sure that the tests and activation program
complied with specifications l would make note of deficiencies found during the
tests and inspections so that they would be corrected before delivery of the ship. l
would work with the shipyard’s engineering department to make sure there was
unanimity on interpretation of tests and specifications Likewise, l worked with
US Coast Guard Inspectors doing periodic inspections on the machinery installed
aboard commercial ships

6. l was also involved in sea trials for newly constructed ships Sea trials
are considered the first day of a ship’s life, it is the first time the ship goes to sea.
The purposes of sea trials for aNavy ship is to make sure the ship performs to
contract specifications Navy inspectors were aboard the ship but they were not
involved in the operation of the ship. The ship is not operated by Navy personnel
during sea trials, this is done entirely by shipyard employees l was chief engineer
during sea trials, which meant the machinery personnel reported to me. Navy
employees observed, but did not supervise or control, the operation of the ship
including maintenance activities Sea trials were to make sure that the ship
performed as specified in the contract

7. l served as the General Manager, Portland Ship Repair division in
Portland, Maine beginning in 1989. From 1990 to 1995 l was a Vice President of
Bath lron Works and General Manager of the Portland Ship Repair Division.
While at Bath Iron Works, l worked closely with U.S. Navy, Sea Systems
Command on new ship construction, repair, conversions, modernizations and
operations

8. ln addition, l also served periodically with the Navy Board of
lnspection and Survey over approximately fifteen (15) years and was responsible
for inspecting and evaluating the equipment in the machinery systems of military

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ships to ensure that such systems were in good material condition and operating
and being maintained properly. l have also worked with American Bureau of
Ships surveyors and have been responsible for inspecting ship equipment and
detailing the overhaul and repair work to be undertaken

9. l served in the Merchant Marines as a marine engineer from 1956
until 1962. As a marine engineer in the Merchant Marine, l averaged 12 hours per
day in machinery spaces with hands on experience in maintenance and repairing
steam systems and all associated equipment Many of the ships on which l worked
during this time period were originally built as merchant ships that had been
converted to naval service then returned to commercial use after World War ll.
These were all steam powered ships While at the Bath Iron Works Shipyard from
1962 until 1989, l spent the majority of time aboard ship, working engineering
spaces, operating, maintaining, repairing, testing, final adjustments dealing with
equipment manufacturers field service engineers to resolve engineering problems
and contractual disputes While at Bath lron Works l also served as Chief Engineer
on over 100 ships and in excess of 200 sea trials

10. ln addition to Bath lron Works, l have been to many other shipyards
to observe their operations, including private shipyards such as National Steel &
Shipbuilding Company in San Diego, California, lngalls Shipbuilding in
Pascagoula, Mississippi, Avondale Shipyard in New Orleans, Louisiana and
Bethlehem Steel in Quincy, Massachusetts, and every United States Naval
Shipyard with the exception of Puget Sound Naval Shipyard. l served as
Commanding Officer of Reserve Detachments at both Norfolk Naval Shipyard in
Norfolk, Virginia and Portsmouth Naval Shipyard in Kittery, Maine. l have also
been aboard four (4) nuclear carrier sea trials as a member of the Navy's Board of
Inspection and Survey.

l 1. Throughout my entire career, l have worked with and around all of the

equipment located in the machinery spaces of military and commercial ships,

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including all insulating materials l have also worked at numerous shipyards l am
familiar with the work performed both by naval and shipyard personnel on naval
and commercial vessels during dry-dock and shipyard overhauls. Based upon this
experience, l am personally familiar with the types of equipment installed in the
machinery spaces aboard these vessels, including the function of the equipment,
such as valves and similar equipment, and the use of asbestos containing materials
to insulate equipment, as well as gaskets and packing used in connection with or as
part of such equipment l am also familiar with the proper functioning,
maintenance and repair of the equipment installed in the machinery spaces of those
vessels Specifically, l am personally familiar with the proper functioning, proper
maintenance, and types of repairs that would be necessary on boilers, pumps,
engines/turbines valves and all other auxiliary machinery used aboard such
vessels

12. As explained above, during my career, l had experience at a number
of commercial shipyards that built and repaired ships for the U.S. Navy and other
governmental concerns, as well as private and commercial vessels l am familiar
with the contracts between the Navy and private shipyards to work on Navy ships
I am also familiar with the role of Navy personnel at a private shipyard

13. Based on my experience with commercial shipyards working on Navy
ships, commercial shipyard management was in charge of general operations and
management of the shipyard; the Navy did not interfere with shipyard management
as to these matters The day-to-day running of a commercial shipyard by
management included planning/scheduling work on board ships and allocation of
manpower. Thus, it would be the commercial shipyard not the Navy, who would
schedule workers from different trades, such as pipefitters, boilermakers
machinists electricians or other contractors to be in the machinery spaces at the
same time as other workers, including but not limited to insulation workers The

same was true for hiring, training, and, where necessary, disciplinary action against

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workers at the shipyard; those matters were handled by the shipyard, not the Navy.
ln some commercial shipyards there were subcontractors who came in to work on
various aspects of ship construction and repair, such as boilers refrigeration,
decking, joiner work and pipe insulation lt was the shipyard administration, not
the Navy, who supervised the work of the subcontractors working on ships
including insulation subcontractors lt was also the shipyard that arranged for
laborers from its cleaning department to clean up dust and debris on ships created
by insulation and other construction work. Shipyards had to manage the work of
many different specialists across both Navy and commercial work; only the
shipyard had the overview and administrative authority to decide the allocation of
manpower.

14. ln my experience, the same was typically true of safety and industrial
hygiene practices.They were the responsibility of the shipyard and the Navy did
not interfere with a commercial shipyard’s institution or enforcement of safety
programs at its job sites At Bath lron Works it was Bath lron works who
developed and enforced safety and industrial hygiene programs The Navy did not
do dust counts or provide other ongoing safety or industrial hygiene services at
private shipyards The Navy would raise issues from time to time with private
shipyards it contracted with, but viewed those shipyards as being in a collaborative
relationship with them. The Navy did not tell private shipyards how to run their
safety and industrial hygiene programs When Bath lron Works instituted asbestos
control policies and procedures to my knowledge the Navy did not have to
approve them first and the Navy did not carry them out, the shipyard did Based
on my experience, l do not believe it would have been any different at National
Steel and Shipbuilding Company in San Diego (“NASSCO”), in that the Navy
would not have interfered with NASSCO had it attempted to develop and
implement an industrial hygiene program to reduce exposures to asbestos

15. l do not recall ever seeing Navy inspectors performs inspection of

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do not ever recall seeing Navy inspectors conduct any inspections related to any
potential asbestos hazards atprivate shipyards

16. In my experience, the construction and repair of Navy ships involved
similar uses of asbestos as that found in commercial ships At Bath lron \ii/'orl<:s,y
asbestos products such as'thermal insulation, packing and gaskets used on Navy
ships were standard products used on all ships and were commercially available

l declare under penalty of perjury of the laws of the United States that the
foregoing is true and correct.

Executed on August 7,~ 2018 in Far'mingdale, Maine.

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DECLARATION OF WILLIAM A. LOWELL, ll

 

